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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF FLORIDA

MIAMI DIVISION
IN RE: Case No. 12-22873-AJC
RAFAEL CORRALES-YUNEZ and
DOLORES MARIA CORRALES, Chapter 13
Debtors.

 

IBERIABANK’S MOTION TO ALLOW LATE FILED CLAIM

IBERIABANK, as assignee of the FDIC as Receiver for Century Bank, F.S.B,
(“IBERIABANK”), a secured creditor of Debtors, Rafael Corrales-Yunez and Dolores Maria
Corrales (collectively, the “Debtors”), by and through its undersigned counsel, hereby files this
Motion to Allow Late Filed Claim (“Motion”), and in support thereof, states as follows:

l. On May 25, 2012 (the “Petition Date’), the Debtors filed a voluntary Chapter 13
petition in the United States Bankruptcy Court, Southern District of Florida, Jacksonville
Division. ee nnn inane

2. On June 28, the Notice of Chapter 13 Bankruptcy Case, Meeting of Creditors, &
Deadlines (“Notice”) was sent to all listed creditors, not including IBERIABANK, which stated
that the deadline to file a proof of claim for all creditors (except a governmental unit) was
October 31, 2012.

3. The Debtors listed Century Bank, FSB (“Century Bank”) with an address of 1680
Fruitville Road, Sarasota, FL which listed the incorrect creditor and provided an improper
mailing address for IBERIABANK.

4, The Debtors were fully aware that IBERIABANK was the successor in interest to

Century Bank as they had knowledge of the Final Default Judgment obtained by IBERIABANK
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in the Case No. 2011-R-718950 in the Circuit Court of the Eleventh Judicial Circuit In and For
Miami-Dade County, Florida dated September 15, 2011 and recorded in Official Records Book
27871 page 690 et seq., of the current public records of Miami-Dade County (the “Judgment’”).
A true and correct copy of the Judgment is attached hereto as Exhibit A.

5. On June 29, 2012, the Debtors filed their Motion to Value and Determine Secured
Status of Lien on Real Property Held by Century Bank ( the “Motion to Value”) and served
Century Bank of Massachusetts in care of Peter Van Lingen, President, 400 Mystic Avenue,
Medford, MA 02155 via certified mail. IBERIABANK had no knowledge and never received
notice of the Motion to Value. Therefore, I]BERIABANK was denied an opportunity to respond.

6. The Court then entered an Order Granting Motion to Value and Determine

Secured Status of Lien on Real Property Held by Century Bank after no response was filed by
Century Bank (D.E. 28) (the “Order”). The Order allows for a bifurcated claim with a secured
claim in the amount of $5,000 and the unsecured portion as a general unsecured claim.
(the “Plan”) which provided for payments to Century Bank in the amount of $5,000 with step
payments of $10.00 per month in month one (1) through six (6) of the plan and then increasing to
$104.37 in months seven (7) through sixty (60) of the Plan on Century Bank’s proposed secured
claim.

8. The Court then entered an Order Confirming First Amended Chapter 13 Plan
Subject to Modification of the First Mortgage and Setting Status Hearing (D.E. 53) (the
“Confirmation Order”).

9, IBERIABANK. is simultaneously filing its Proof of Claim (‘“TIBERIABANK

Claim} with the Court.

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RELIEF REQUESTED

10. By way of this motion, IBERIABANK seeks the entry of an order allowing the
IBERIABANK Claim as timely filed in the Debtors’ bankruptcy case.

11, IBERIABANK only came to know of the Debtors’ bankruptcy filing after all of
these events occurred in the bankruptcy. Once IBERIABANK learned of the bankruptcy they
retained the services of the undersigned bankruptcy counsel to file this Motion. The lack of
notice provides the basis for failing to file the IBERIABANK Claim timely.

12. IBERIABANK does not believe that the delay is significant considering that
IBERIABANK is a secured creditor of the Debtors and is listed in the Debtors’ schedules and
Plan, albeit incorrectly. Given the foregoing circumstances, the length of IBERIABANK’s delay
in filing the IBERIABANK Claim was reasonable.

13. The Court should also consider that the allowance of the IBERIABANK Claim

will neither materially prejudice the Debtors, nor impact their bankruptcy case. There is no

 

reflected in its schedules and confirmed Plan. Moreover, the Court should weigh in the fact that
the confirmed Plan provides for payment on IBERIABANK’s secured claim and IBERIABANK
would only seek distribution on its general unsecured claim going forward.

i4, For the reasons set forth above, neither IBERIABANK nor the Debtors would be

prejudiced by the granting of this motion and the ends of justice would be served thereby,

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WHEREFORE, IBERIABANK respectfully requests that this Court enter an order: (i)
granting this Motion; (ii) allowing the IBERIABANK. Claim as a timely filed claim; and (iii)
providing for such other and further relief as this Court deems appropriate under the
circumstances.

DATED this 20" day of March, 2013.

ROGERS TOWERS, P.A.

/sf Michael S. Waskiewicz
Michael 8. Waskiewicz
Florida Bar No. 0693642
Rogers Towers, P.A.
1301 Riverplace Bivd., Suite 1500
Jacksonville, Florida 32207
(904) 398-3911 (telephone)
(904) 396-0663 (facsimile)

Attorneys for IBERIABANK

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Case 12-22873-AJC Doc63 _ Filed 03/20/13 Page 5 of 10

CERTIFICATE OF SERVICE
I HEREBY CERTIFY that a copy of the foregoing Motion to Allow Late Filed Claim has

_ been served on this 20th day of March, 2013 by United States first class mail postage prepaid to
the attached Mailing Matrix.

fs/ Michael §. Waskiewicz
Attorney

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JN THE CIRCUIT COURT OF THE ELEVENTH JUDICIANGQGEIGOUNT(. FLORIDA

JN AND FOR MIAMI-DADE COUNTY, FLORIDA

IBERIABANK, a Louisiana

‘banking corporation, successor in

Antere&t to CENTURY BANK,
Plaintiff,

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RARAEL CORRALES-YUNBEZ,

TMefendant,
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FINAL DERAULE JUDGMENP

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THE COURT: DISMISSES THIS: CASE AGAINST
ANY PARTY NOT: LISTED IN THIS. FINAL ORDER
OR. PREVIOUS ORDER(S): THIS CASE Js CLOSED
AS TO ALL PARTIES, ; 3d :
_ Judge's. Initats

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This rater having’ come ‘before: the Co

rt on Plaintiff, IBERIABANK?S, Motion for

Default-Finai Judgment, the Gourt having reviewed the file; and. being otherwise duly-advised in

the:premises, itis hereby

ORDERED AND-ADJUDGED as follows:

1, Plaintiff’s Motion for-FinakDefault Jur

from. Rafael Corrales- Yunez:

Principal).
interest'from-4/01/19 -— 9/4
Late:Charges
RIMS Fee
Escrow Balance
Filin®:- fee.

Service of Process
Attornéy*SiFeés:
Findings.as:to-reasonable.
Number.d£hours5.5
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that shall. bear interest at the rate.of}6%.a year.

3, €onsistent herewith, Judgment

is hereby entered in favor of Plaintiff

IBERIABANK;, (174) Main Street, 2" Floor, Sarasota, FL 34236) against Defendant, RAFAEL

‘CORRALES-V-UNEZ for the sum of $37,452.71
‘yeat, niuil paid.

4. It 8 further ORDERED and AD

that shal] bear interest at the rate of 6% per

JUDGED that the Judgment debtors shall

completé. unde -oath, Florida Rule of Civil Procedure Form 1.977 (Fact Information Sheet)

including all:required attachments and sérve it-on|the Judgment creditor’s atlorney within forly-

five days: from: the date of this Final Judgment, -uniess the. Final Judgment is: satisfied ‘or post

Judgment discovery is, stayed.

5., Jurisdiction of this case is retained to enter further Ordérs that are proper to

coifpel the Judgment debtors. to complete Form }
stive it-on the Judgment créditor’s attorney,

__FOR ALL OF WHICH LET EXECUTION:

977, including all required attachments, and

ISSUF FORTHWITH,

DONE AND:ORDERED in. Chambers of Miami:Dade.County, Flogida this L5 ‘day

of September, 2014,

Copies-firnished to:

  

 

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CIRCUTE COURT JUDGE

Mi Belin’ Chefiery ESgsy /DeBdest; Stockuian, Decktr, ‘Hagan, SA en bbiMartiicP-A:; 14t$. Hendry Sees Fon Myers SFL 33901

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Case 12-22873-AIC

Southern District of Florida
Biami

Wed Feb 13 10:44:31 88T 2023
feils Fargo Home Mortgage,

c/o Aldridge Connors LLP

700 ¥ Palmetto Park Rd 9307
Roca Raton, Fl 33433-3430

Americas Servicing Co
Attention: Bankruptcy
Po Box 10328

Des Moines, IA 50306-0328

Baw Bk No am
2735 & Parleya Way
Salt Lake City, UT 84109-1666

Central Loan Admin & R
425 Phillips Blvd
Bying, NJ 98618-1430

Chase
Bank One Card Serv
Westerville, OH 43081

Chevron / Texaco Citibank
Attn: Centralized Bankruptcy
Po Box 20507

Kansas City, WO 64195-0507

Citibank Usa

Attn.: Centralized Bankruptey
Po Hox 20363

Kansas City, MO 64195-0363

Exxabledtd

Attn.: Centralized Bankruptcy
Po Box 20507

Kangas City, MO 64195-0507

Home Comings Financial
Attenkion: Bankruptcy Dept
1100 Virginia Drive

Fort Washington, PA 19034-3204

IBERTABANK

e/o J. Ehisworth Summers, Jr., Esq.
Rogar's Towars, P.A.

1301 Riverplace Boulevard

Suite 1500

Jacksonville, FL 32207-1811

Amc Mortgage Services
2077 N Main St Ste 1050
Santa Ana, CA $2705

Asseb Acceptance LLC
PO Box 2036
Warren BI 48090-2036

CANDICA, LLC

€ 0 WEINSTEIN AND RILEY, 28
2001 WESTERN AVENUE, STE 400
SEAETLE, WA 96121-3132

Century Bank
1686 Fruitville Road
Sarasota, FL 34236-8505

(p}CHASE CARD SERVICES
201 NORTH WALNUT STREET

. ATTN MARK PASCALE

MAIL STOP DE1-1406

(p)CHRYSLER FINANCIAL
27777 INKSTER RB
FARMINGTON HILEG HI 48334-5326

Discover Pin

Attention: Bankruptcy Department
Po Box 3025

New Albany, OH 43954-3025

Genb/cheyron
Attention: Bankruptcy
Po Box 103104
Roswell, GA 30076-9104

Hsbe Best Buy

Attn: Bankruptcy

Po Box 5263

Carol Stream, EL §0197-5263

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Vanda, LLC

c/o Weinstein & Riley, P.S.
2001 Western Ave., Ste. 400
Seattle, WA 98121-3132

American Express Bank FSB
c/o Becket and Lee LLP
POB 3001

Malvern PA 19355-0701

Bank Of America
4060 Ogletown/Stanton Rd
Newark, DE 19713

Capital One, Nia

C/O American Infosource

Po Box 54529

Oklahoma City, OR 73154-1529

Chase
201 N. Walnut St//Del-1027
Wilmington, DE 19801-2920

Chase - Ce
Po Box 15298
Wilmington, DE 19850-5298

oo MTEMINGTON DE 380 e290 seamen

Citibank $d, Na

Attn: Centralized Bankruptcy
Po Box 20507

Kansas City, MO 64195-0507

Dsnb Bioon
Bloomingdale's Bankruptcy
Po Box 8053

Mason, OH 45049-8053

Genb/sound Advice
Po Box 991439
EL Paso, TX 79999-1439

Hsbe/neimn

Hach Retail Srvs/ Attn: Bankruptcy
Po Box 5263

Carol Stream, IL 60197-5263
Case 12-22873-AJC Doc63_ Filed 03/20/13

Ushe/saks
Pob E5524
Wiimington, DE 19850-5521

Macys/fdsb

Macy’s Bankruptcy
Po Box 8053

Mason, OH 45040-8053

Office of the U8 Trustee
51 3.4, ist Ave.

Suite 1204

Miami, Fl 33130-1614

Rutherford Mulhall, P.A.
2609 N. Military Trail, 4th FL
Boca Raton, Fl 33431-6339

Volkswagon Credit Inc

c/o Bride, Vander, Linden and Wernick PC
$441 Lb} Freeway Suite 250

Dallas, TX 75243-4640

World Savings & Loan

Attn: Bankruptcy

4101 Wiseman Blyd

San Antonio, TX 78251-4200

acAST Sattlement Corporation assignee of Cit
(South Bakota}) WA

FOB 23262

Naw York NY 10087-9262

Nancy K. Neidich

wow. chi3herkert.com
POB 279806

Miramar, Ph 33027-9806

ERS

Honorable Michael B. Mukasey
Attorney General of the US
950 Pennsylvania Ave, Ra 4400
Washington, BC 20530-0009

Nordstrom FSB

Attention; Bankruptcy Department
Po Box 6555

Englewood, CO 90155-6555

(p}PORTFOLIO RECOVERY ASSOCIATES LLC
PO BOK 41067
NORFOLK VA 23541-1067

Sears/ched
701 East 60th St N
Sioux Falls, §D 57104-0432

Washington Mutual / Providian
Attn: Bankruptey Dapt.

Fo Box 10467

Greenville, $C 29603-0467

fychsr Mtg
3845 South West Temple
Salt Lake City, UT 84115-4412

Bolores Maria Corrales
7655 SH 134th Streat
Miami, Ph 33156-6845

Rafael Corrales-Yunez
7655 SW i34th Street
Miani, FR 33156-6845

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Lexus Financial Servic
12735 Morris Road Ext #
Alpharetta, GA 30004-8904

Nordstrom FSB

Attention: Bankruptcy Department
Po Box 6566

Englewood, CO $0155-6566

Quantum} Group LLC as agent for
Galaxy Portfolios LLC

PO Box 788

Kirkland, WA 98083-0788

Sears/ebad
Po Box 6189
Sioux Falls, SD 57117-6189

Wells Fargo Bank, NA.

ATTN: Bankruptcy Department 17416-023
4101 Wiseman Blvd.

San Antonio, TX 78251-4200

aCAST Settlement Corporation SUCCESSOR to FI
Services aka Bank of America

POB 29262

New York N¥ 16087-9262

James A Poe
9500 § Badeland Blvd 9610
Miami, FL 33156-2848

The preferred mailing address {p) above has been substituted for the following entity/entities as so specified
by said entity/entities in a Notice of Address filed pursuant to 11 U.3.C. 342(£} and Fed. R.Bank.P. 2002 {g) (4}.

Chase
Po Box 1993
Northridge, CA 91328

Chrysler Financial
Po Box 8065
Royal Qak, ME 48068

Portfolio Recovery Associates, LLC
POB 41967
Norfolk VA 23541
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The following recipients may be/have bean bypassed for notice due to an undeliverable {u) or duplicate (d} address.

{a} Biani _ (u)Gemb/brandamart {u)Hsbe Bank

{d}Vanda, LLC End of Label Matrix

c/o Weinstein & Riley, PS. Mailable recipients 52
2001 Western Ave,, Ste. 400 Bypasged recipients 5
Seattle, WA 98121-3132 Total 5

{u)Mutual Mgmt
